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                  EXHIBIT 15
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                          AUTHORIZATION AND CONSENT TO DISCLOSE DATA

   I am the registered account holder and sole authorized user of the Twitter account associated
   with :
   Account @MatthewHeimbach and
   Email address Matthew.W.Heimbach@gmail.com (the "Account").

   Pursuant to the Stored Communications Act, 18 U.S.C. § 2702(b)(3) and 2702(c)(2), I hereby
   consent to Twitter, Inc. ("Twitter") disclosing the following data associated with the Account,
   which are in the Account, or were preserved pursuant to the subpoena(s) issued in CASE NO.:
   3:17-cv-00072] (the "Documents"):
      • Tweets and associated media, dated between January 1st 2015 GMT/UTC and present;
          and
      • Direct messages, group direct messages, and associated media, dated between January
          1st 2015 GMT/UTC and present GMT/UTC.
      • Profile Data, Followers, Following, Tweets (and ret weets}, Replies, Notifications,
          Messages (Direct Messages or "DMs"}, Any other items we would expect to find if we
          were viewing you r live twitter account with f ull access and control.

   I consent to Twitter delivering and divulging the Documents to:
   Recipient name IDSINC
   Recipient email address: bwilliams@idsinc.com and kkim@idsinc.com

   By completing this consent and authorization, I understand and agree that, subsequent to such
   disclosure, Twitter cannot control how the records and content are used and whether the
   records and content are further disclosed, including by filing in the public record.

   I hereby release any claims I may have against Twitter and/or its parents, subsidiaries, affiliates,
   related companies, officers, directors, employees, agents, representatives, partners, and
   licensors (the "Twitter Entities"} with respect to damage or loss caused by, or arising out of, or
   being incidental to the above-referenced disclosure of records or contents of communications.




   Printed name



    V
  Signature




  Date
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